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Doc 1238-15 Entered 08/13/10 16

Case 09-14814-qwz

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SEE SHEET PPI4

CONSTRUCTION NOTES:
J STREET AY

GRAPHIC SCALE SCALE. HORIZONTAL 1° = 40" (7) SIDEWALK ACCESS AAMP TYPE 'D’ PER MAG. STANDARD DETAIL NO. 234
e = oa - VERTCAL 1" = ¥
{ IN FEET )

{iooh = 40 th

HIGH POINT FLEW = 254833
HIGH POINT BTA = 22410.34
PY STA = 22+04.84
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K+ 6731
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HORT

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- ™. = EXISTING CONTOUR:
7a = LOT NUMBER
ths EDGE OF PAVEMENT

ty EAE ME aa ee = SUBDIVISION PHASE BOUMDRY

=< = 5. FT TRANSITION
TL" CURB TO "ROLL" CURB)

SS === = CURB & CUTTER

- 5/0 RAMP

BASIS OF BEARINGS

MORTH OO73'SB" EAST — THE WEST LINE OF THE NORTHWEST QUARTER
(HW 144) OF SECTION 02, TOWNSHIP 20 NORTH, RANGE 18 WEST, GLA &

ARIZONA ODORDINATE SYSTEM OF 1983 (AZ@3—WF), WEST 2

MOHAL FOGT (IFT), UTUZING FAST STATIC DESERVATIONS

PROCESSED BY NGS—OPUS,

M..5.D. "SD 32 = LATIUBE 3570@'22.70034"
LONGITUDE 114°09°21.S7240°W {KAD BS)
HEIGHT 2562.48391Ne (HAVD'SB)
SIOHE 1/4 COR 3/2 = LATITUDE ASDef's5.S385'
LONGITUDE 11471030. 7
HEIGHT 2498. 20458%F+

Quan "83}
a}

BENCHMARK

BENCHMARK # "SD 347 W.0S.D,
ELEVATIONS 2590.24275

65 FT, MORTHEAST OF
BW. AMO THE
., STAMPED "SD 34 1898

GEOTECHNICAL NOTE:

ALL CONVETRUGTION SHALL CONFORM WITH THE
SOILS REPORT PREPARED BY: AMERICAN SOLS
ENGINEERIMG, LLC.

oR’ SEPTEMBER DS

PROJECT Me: 1080-GEO

FEMA FLOOD ZONE

FEMA MAP: PANEL WO, O40058 23250
MAP UPDATE: GGT 20, 2000

A.PORTICN OF PHASE B OF AREA 2 UES ‘WITHIN!

PLAN FOR BOUNDARY LOCATIONS.

DISCLAIMER NOTE

UTUTY LOCATIONS SHOW
HEREDY ARE APPROKIMATE
OMLY. IT SHALL BE THE
CONTRACTOR'S RESPONSIBILTY
TO DETERMI

Overhead
1-928-753-5591
UREA

PRELIMINARY ISSUE FOR REVIEW

SCALE (H) 1"=40"
<4!
CHECKED BY SH/DB

SCALE (4) 1"
DRAWN BY GA

DATE 04-12-08

NOT FOR CONSTRUCTION 04/12/08 S

(202) 348-9386 Fox (702) 360-0703

‘wun starleyareup.com

Stanley Consultants inc

5820 3. Eastern Averve, Suite 200
Los vegas, Mevode B91 19

ARIZONA

GOLDEN VALLEY RANCH

RHODES HOMES ARIZONA, LLG
AREA 2 PHASE B
J STREET PLAN AND PROFILE

MOHAVE COUNTY

SHEET
PP26

B9 OF 7a SHEETS
Sci PROJECT#

18476,24,.32

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